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                IN THE UNITED STATES DISTRICT FOR
                  THE WESTERN DISTRICT OF TEXAS
                      SAN ANTONIO DIVISION

H O L C O M B E , et. al,                        NO. 5:18-CV-00555-XR
                                                   (consolidated cases)
Plaintiffs

vs.

UNITED STATES OF
AMERICA,

Defendant




      Parties, by and through their counsel of record, stipulate:

      1.     On June 9, 2011, Air Force Office of Special Investigations
             (“AFOSI”) conducted a subject interview of Devin Patrick
             Kelley. At the end of the interview, two sets of Kelley’s
             fingerprints were collected on fingerprints cards (FD-249).
             Kelley’s fingerprints were not submitted to the FBI CJIS
             Division.

      2.     On February 17, 2012, the 49th Security Forces Squadron
             (“SFS”) investigators conducted a subject interview of Devin
             Patrick Kelley. The 49th Security Forces Squadron did not
             collect Devin Kelley’s fingerprints and did not submit them
             to the FBI CJIS Division.

      3.     On June 8, 2012, DoD and Air Force instructions and
             policies required the AFOSI Detachment 225 to collect and
             submit Devin Kelley’s fingerprints to the FBI CJIS Division.
             The AFOSI Detachment 225 did not collect Devin Kelley’s
             fingerprints and did not submit them to the FBI CJIS
             Division.



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4.   On November 7, 2012, after Devin Kelley’s General Court-
     Martial conviction, DoD and Air Force instructions and
     policies required the 49th Security Forces Squadron
     Confinement Facility to collect Devin Kelley’s fingerprints
     and submit them to the FBI CJIS Division. The 49th
     Security Forces Squadron Confinement Facility employees
     did not collect and submit Devin Kelley’s fingerprints to the
     FBI CJIS Division.

5.   After Devin Kelley’s General Court-Martial conviction on
     November 7, 2012, DoD and Air Force instructions and
     policies required the Department of Defense to submit
     Devin Kelley’s final disposition report of his felony assault
     conviction for a crime of domestic violence to the FBI CJIS
     Division. The Department of Defense did not submit
     Kelley’s final disposition report of his conviction to the FBI
     CJIS Division.

6.   On December 14, 2012, the AFOSI Detachment 225
     received the results of Kelley’s General Court-Martial
     conviction. DoD and Air Force instructions and policies
     required the AFOSI Detachment 225 to submit Devin
     Kelley’s fingerprints and the final disposition report of his
     felony assault conviction for a crime of domestic violence to
     the FBI CJIS Division. The AFOSI Detachment 225 did not
     submit Kelley’s fingerprints or final disposition report to the
     FBI CJIS Division’s criminal history repository.

7.   From June 29, 2011 through October 5, 2012, DoD and Air
     Force instructions and policies required AFOSI Detachment
     225 leadership to perform monthly reviews of the Kelley
     investigation. During the 15 monthly reviews, the AFOSI
     Detachment 225 leadership did not note that Kelley’s
     fingerprint cards had not been submitted to the FBI CJIS
     Division. AFOSI Detachment 225 leadership took no
     corrective action to ensure Kelley’s fingerprints were
     collected and submitted to the FBI CJIS Division.

8.   Following Devin Kelley’s court-martial conviction on
     November 7, 2012, but prior to the November 5, 2017
     shooting at the First Baptist Church of Sutherland Springs,
     Texas, the AFOSI Detachment 225 never submitted Kelley’s

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     fingerprints or final disposition report of conviction to the
     FBI CJIS Division, as required by DoD and Air Force
     instructions and policies. Consequently, Devin Kelley’s
     fingerprints and conviction were not in the FBI’s National
     Instant Criminal Background Check System at any time
     before November 5, 2017.

9.   Following Devin Kelley’s court-martial conviction on
     November 7, 2012, but prior to the November 5, 2017
     shooting at the First Baptist Church of Sutherland Springs,
     Texas, the 49th Security Forces Squadron did not collect
     Kelley’s fingerprints or submit them with the final
     disposition report of his felony assault conviction for a crime
     of domestic violence to the FBI CJIS Division, as required
     by DoD and Air Force instructions and policies.
     Consequently, Devin Kelley’s convictions were not in the
     FBI’s National Instant Criminal Background Check System
     at any time before November 5, 2017.




                                  Agreed to on behalf of the United
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                   CERTIFICATE OF SERVICE

    By our signatures above, we certify that a copy of has been sent to the
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